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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA
                         GAINESVILLE DIVISION

UNITED STATES                                 :
                                              :
v.                                            :      CIVIL ACTION NO.
                                              :      2:14-CR-37-RWS-JCF
CARMEN MORALES                                :


                     REPORT AND RECOMMENDATION

      This case is before the Court on Defendant’s “Motion To Sever Defendants

[re: Bruton problem].” (Doc. 63). Defendant moves, pursuant to Bruton v. United

States, 391 U.S. 123 (1968), to sever her trial from that of her co-defendants

because she “suspects that some of the codefendants may have given statements

which directly or incriminate Ms. Morales.” (Doc. 63 at 2). In Bruton, the

Supreme Court “held that a defendant is deprived of his rights under the [Sixth

Amendment’s] Confrontation Clause when his nontestifying codefendant’s

confession naming him as a participant in the crime is introduced at their joint trial,

even if the jury is instructed to consider that confession only against the

codefendant.” Richardson v. Marsh, 481 U.S. 200, 201-02 (1987). In response to

Defendant’s motion, the Government asserts that “to date no co-defendants have

made statements which incriminate defendant,” but represents that it is “aware of

its obligation to alert the Court and counsel of the existence of such a statement, if

one if made in the future.” (Doc. 79 at 1). The Government requests that the

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Court deny Defendant’s motion to sever “as moot with leave to refile it if it

appears at a later time that a severance would be warranted.” (Id.). Defendant did

not file a reply to the Government’s response and has not refuted its assertion that

Defendant’s motion is moot.        Accordingly, it is RECOMMENDED that

Defendant’s motion to sever (Doc. 63) be DENIED as moot, with leave to re-file

it if circumstances warrant such a motion.

      IT IS SO REPORTED AND RECOMMENDED this 23rd day of

December, 2014.


                                       /s/ J. CLAY FULLER
                                      J. CLAY FULLER
                                       United States Magistrate Judge




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